Case 18-31722       Doc 2-2        Filed 10/19/18 Entered 10/19/18 13:01:31           Desc Proposed
                                          Order Page 1 of 2




                           UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF CONNECTICUT
                                  NEW HAVEN DIVISION

In re                                                  :       Chapter 11
                                                       :
SERVICOM LLC,                                          :       Case No. 18-31722 (AMN)
JNET COMMUNICATIONS LLC, and                           :       Case No. 18-31723 (AMN)
VITEL COMMUNICATIONS LLC,                              :       Case No. 18-31724 (AMN)
                                                       :
                                   Debtors.            :       (Joint Administration Requested)

                ORDER DIRECTING JOINT ADMINISTRATION OF CASES
                      PURSUANT TO FED. R. BANKR. P. 1015(b)

        THIS MATTER came before the Court upon the Motion of ServiCom LLC (“ServiCom”),

JNET Communications LLC (“JNET”) and Vitel Communications LLC (“Vitel”) (collectively, the

“Debtors”), as debtors and debtors-in-possession, for an order administratively consolidating their

Chapter 11 cases for procedural purposes only pursuant to Fed. R. Bankr. P. Rule 1015(b) (the

“Motion”), and it appearing that joint administration of these Chapter 11 cases is in the best interests

of the Debtors, their respective estates and creditors; and notice having been given to the United

States Trustee for the District of Connecticut; and it appearing that due and appropriate notice has

been given under the circumstances of these cases and that such notice is sufficient; and sufficient

cause appearing therefore, it is

        ORDERED that the Motion be, and it hereby is, granted in all respects; and it is further

        ORDERED that the above-captioned cases be, and they hereby are, consolidated for

procedural purposes only and shall be jointly administered by the Court; and it is further

        ORDERED the caption in these Chapter 11 cases shall hereafter be:




                                                   1
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                              UNITED STATES BANKRUPTCY COURT
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                                     NEW HAVEN DIVISION

In re                                                   :      Chapter 11
                                                        :
SERVICOM LLC,                                           :      Case No. 18-31722 (AMN)
JNET COMMUNICATIONS LLC, and                            :      Case No. 18-31723 (AMN)
VITEL COMMUNICATIONS LLC,                               :      Case No. 18-31724 (AMN)
                                                        :      Jointly Administered Under
                                  Debtors.              :      Case No. 18-31722 (AMN)

and it is further

        ORDERED that a docket entry shall be made in each of the above-captioned cases of

ServiCom and Vitel substantially as follows:

                    “An order has been entered in this case directing the procedural
                    consolidation and joint administration of the Chapter 11 cases of
                    JNET Communications LLC and its affiliate and the docket and case
                    number 18-31722 should be consulted for all matters affecting this
                    case."

and it is further

        ORDERED that nothing contained in this Order shall be deemed or construed as directing or

otherwise affecting the substantive consolidation of the above-captioned cases.




                                                    2
